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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


Commodity Futures Trading Commission,

                   Plaintiff,                        Case No. 1:23-cv-1887

       v.                                            Judge Manish S. Shah

Changpeng Zhao, Binance Holdings Limited,            ORAL ARGUMENT REQUESTED
Binance Holdings (IE) Limited, Binance
(Services) Holdings Limited, and Samuel Lim,

                   Defendants.




        BINANCE HOLDINGS LIMITED, BINANCE HOLDINGS (IE) LIMITED,
               BINANCE (SERVICES) HOLDINGS LIMITED, AND
                 CHANGPENG ZHAO’S MOTION TO DISMISS

       Pursuant to Federal Rules of Civil Procedure 12(b)(2) and 12(b)(6), Defendants Binance

Holdings Limited, Binance Holdings (IE) Limited, Binance (Services) Holdings Limited (the

“Foreign Binance Entities”), and Changpeng Zhao, through their undersigned attorneys, respectfully

move this Court to dismiss the complaint filed by the Commodity Futures Trading Commission

(“CFTC”) (ECF No. 1). For the reasons stated in the concurrently filed brief in support, the CFTC’s

claims against the Foreign Binance Entities and Mr. Zhao should be dismissed for at least four

reasons. First, the CFTC failed to plead that any of the moving parties is subject to personal

jurisdiction. Second, Counts I through VI should be dismissed as impermissibly extraterritorial.

Third, the CFTC failed to plead the elements necessary to bring claims under Counts I, III, V, and

VI. Finally, the Court should dismiss Count VII’s novel assertion of “anti-evasion” under 17 C.F.R.

§ 1.6 because the CFTC does not identify any statute or regulation related to swaps that the moving

parties allegedly sought to evade, let alone by willful conduct. The CFTC opposes this motion.


   BINANCE HOLDINGS LIMITED, BINANCE HOLDINGS (IE) LIMITED, BINANCE (SERVICES) HOLDINGS
         LIMITED, AND CHANGPENG ZHAO’S MOTION TO DISMISS – CASE NO. 1:23-cv-1887
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Dated: July 27, 2023                          Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I certify that on July 27, 2023, I electronically filed the foregoing motion with the Clerk of

the United States District Court, Northern District of Illinois using the CM/ECF system, which

sent notification of such filing to the registered CM/ECF participants.

                                                      /s/ Michael Celio
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   BINANCE HOLDINGS LIMITED, BINANCE HOLDINGS (IE) LIMITED, BINANCE (SERVICES) HOLDINGS
         LIMITED, AND CHANGPENG ZHAO’S MOTION TO DISMISS – CASE NO. 1:23-cv-1887
